          Case 2:12-cr-00180-TLN Document 341 Filed 05/23/16 Page 1 of 3



              UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Gurdev Kaur Johl                       Docket Number:       0972 2:12CR00180

Name of Judicial Officer:      Chief United States District Judge Morrison C. England

Date of Original Sentence:     12/3/2015

Original Offense: 18 U.S.C. § 371 Conspiracy to Commit Mail Fraud (Class D Felony)

Original Sentence: 1 day custody Bureau of Prisons; 36 month Term of Supervised Release; No
firearms; DNA collection; $222,037.85 restitution; $100 special assessment.

Special Conditions: Warrantless Search; No Dissipation of Assets; Apply All Monies to any unpaid
restitution; Financial Disclosure; Financial Restrictions; Location Monitoring (8 months).

Type of Supervision:     TSR

Date Supervision Commenced:         12/3/2015

Other Court Actions:
None




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

The defendant shall also comply with the following special conditions:

        7. As directed by the probation officer, the defendant shall participate in a program of outpatient
           mental health treatment.

Justification: During a recent home visit, Ms. Johl shared feelings of hopelessness and what appear to be
symptoms of depression. Specifically, she spoke about how much she missed her late husband who
recently passed after more than 40 years of marriage. Moreover, she relayed stress involving her financial
situation after the majority of her savings was seized and applied toward her criminal monetary penalties.


                                           Page 1 of 3                                               PROB 12B
                                                                                                       (08/13)
        Case
RE: Gurdev    2:12-cr-00180-TLN
           Kaur Johl            Document 341Docket
                                              FiledNumber:
                                                    05/23/16
                                                           0972Page  2 of 3
                                                                2:12CR00180



Ms. Johl relayed while on pretrial supervision, she was seen by Dr. Lazinski and benefited greatly
through his services. That said, the offender has requested a modification to include mental health
services be recommended. During her term of supervision, Ms. Johl has remained compliant with her
Court-imposed term of home confinement, remains on schedule with her restitution payments, and
appears compliant with all other conditions of her release.

                                                             Respectfully submitted,
                                                             /s/ Vladimir Pajcin


                                                             VLADIMIR PAJCIN
                                                             United States Probation Officer
                                                             Telephone: (916) 786-2357
DATED:         5/17/2016
                                                             Reviewed by,
                                                             /s/ Michael A. Sipe


                                                             MICHAEL A. SIPE
                                                             Supervising United States Probation Officer


THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

Dated: May 19, 2016




CC:

United States Probation

Assistant United States Attorney: Jared Dolan; Sherry Haus

Defense Counsel: Candace Fry; Rajdep Chima




                                              Page 2 of 3                                              PROB 12B
                                                                                                         (04/13)
        Case
RE: Gurdev    2:12-cr-00180-TLN
           Kaur Johl            Document 341Docket
                                              FiledNumber:
                                                    05/23/16
                                                           0972Page  3 of 3
                                                                2:12CR00180




                                 Page 3 of 3                                  PROB 12B
                                                                                (04/13)
